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                        IN THE UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                             )
    In re:                                                                   )   Chapter 11
                                                                             )
    CYPRESS ENVIRONMENTAL PARTNERS, L.P., et al., 1                          )   Case No. 22-90039 (MI)
                                                                             )
                            Debtors.                                         )   (Joint Administration Requested)
                                                                             )   (Emergency Hearing Requested)

                 AMENDED 2 AGENDA FOR FIRST DAY HEARING ON
           FIRST DAY MOTIONS SCHEDULED FOR MAY 9, 2022 AT 1:30 P.M.
       (PREVAILING CENTRAL TIME), BEFORE JUDGE MARVIN ISGUR AT THE
      UNITED STATES BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT OF
       TEXAS, AT COURTROOM 404, 515 RUSK STREET, HOUSTON, TEXAS 77002

I.           Evidentiary Support for First Day Pleadings.

1.      First Day Declaration. Declaration of Peter C. Boylan III, Chairman & Chief Executive
Officer of the Debtors, in Support of the Chapter 11 Petitions and First Day Pleadings [Docket No.
12].

Status: The Declaration will be relied upon as evidentiary support for the first day matters listed
below.

II.          First Day Pleadings.

2.     Joint Administration Motion. Debtors’ Emergency Motion for Entry of an Order (I)
Directing Joint Administration of Cases and (II) Granting Related Relief [Docket No. 2].

Status: This order on this motion has been entered and this matter will not be going forward.




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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, include: Cypress Environmental Partners, L.P. (1523); Cypress Municipal Water Services, LLC (5974);
    Cypress Environmental Partners, LLC (7385); Cypress Brown Integrity, LLC (3455); Cypress Energy
    Partners - 1804 SWD, LLC (9110); Cypress Energy Partners - Bakken, LLC (9092); Cypress Energy
    Partners - Grassy Butte SWD, LLC (9047); Cypress Energy Partners - Green River SWD, LLC (1534); Cypress
    Energy Partners - Manning SWD, LLC (4247); Cypress Energy Partners - Mork SWD, LLC (0761); Cypress
    Energy Partners - Mountrail SWD, LLC (4977); Cypress Energy Partners - Tioga SWD, LLC (3230); Cypress
    Energy Partners - Williams SWD, LLC (3840); Cypress Environmental - PUC, LLC (8637); Cypress
    Environmental Management - TIR, LLC (5803); Cypress Environmental Management, LLC (4753); Cypress
    Environmental Services, LLC (7770); Tulsa Inspection Resources - PUC, LLC (2514); and Tulsa Inspection
    Resources, LLC (4632). The Debtors’ service address for the purposes of these chapter 11 cases is 5727 South
    Lewis Avenue, Suite 300, Tulsa, Oklahoma 74105.
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  Amended items appear in bold.
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3.     Consolidated Creditor Motion. Debtors’ Emergency Motion for Entry of an Order (I)
Authorizing Debtors to File (A) Consolidated Creditor Matrix, (B) File a Consolidated List of 30
Largest Unsecured Creditors, and (C) Redact Certain Personal Information, (II) Waiving the
Requirement to File a List of Equity Security Holders, (III) Approving Form and Manner of
Notifying Creditors of Commencement of Chapter 11 Cases and Other Information, and (IV)
Granting Related Relief [Docket No. 4].

Status: This matter is going forward.

4.     Schedules and Statements Motion. Debtors’ Emergency Motion for Entry of an Order (I)
Extending Time to File (A) Schedules and Statements of Financial Affairs and (B) Rule 2015.3
Financial Reports and (II) Granting Related Relief [Docket No. 5].

Status: This matter is going forward.

5.     Taxes and Fees Motion. Debtors’ Emergency Motion for Entry of an Order (I) Authorizing
the Payment of Certain Taxes and Fees and (II) Granting Related Relief [Docket No. 6].

Status: This matter is going forward.

6.    KCC Retention Application. Emergency Ex Parte Application for Entry of an Order
Authorizing the Employment and Retention of Kurtzman Carson Consultants LLC as
Claims, Noticing and Solicitation Agent [Docket No. 38].

Status: This matter is going forward.

7.     Wages Motion. Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the
Debtors to (A) Pay Prepetition Wages, Salaries, Other Compensation, and Reimbursable Expenses
and (B) Continue Employee Benefits Programs and (II) Granting Related Relief [Docket No. 8].

Status: This matter is going forward.

8.     Insurance and Performance Bonds Motion. Debtors’ Emergency Motion for Entry of an
Order (I) Authorizing Debtors to (A) Continue Insurance Program and Performance Bond Program
and (B) Pay All Obligations with Respect thereto; and (II) Granting Related Relief [Docket No.
9].

A.      Revised Insurance Order. Notice of Filing of Revised Proposed Order for Entry of an
Order (I) Authorizing Debtors to (A) Continue Insurance Program and Performance Bond
Program and (B) Pay All Obligations With Respect Thereto; and (II) Granting Related
Relief [Docket No. 37].

Status: This matter is going forward.

9.     Utilities Motion. Debtors’ Emergency Motion for Entry of an Order (I) Determining
Adequate Assurance of Payment for Future Utility Services, (II) Prohibiting Utilities From
Discontinuing Service, (III) Establishing Procedures for Determining Adequate Assurance of
Payment, and (IV) Granting Related Relief [Docket No. 10].

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Status: This matter is going forward.

10.     Cash Management Motion. Debtors’ Emergency Motion for Entry of an Order (I)
Authorizing the Debtors to (A) Continue to Operate Their Existing Cash Management System; (B)
Maintain Their Existing Bank Accounts and Business Forms; (C) Pay Related Prepetition
Obligations; and (D) Continue to Perform Intercompany Transactions; and (II) Granting Related
Relief [Docket No. 11].

Status: This matter is going forward.

11.     DIP Financing Motion. Debtors’ Emergency Motion for Entry of Interim and Final Orders
(I) Authorizing the Debtors to (A) Obtain Senior Secured Superpriority Postpetition Financing and
(B) Utilize Cash Collateral of the RBL Secured Parties, (II) Granting Adequate Protection to the
RBL Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling and Final Hearing, and
(V) Granting Related Relief [Docket No. 13].

Status: This matter is going forward.

A.      Sanjiv Declaration. Declaration of Sanjiv Shah in Support of the Debtors’ Emergency
Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Senior
Secured Superpriority Postpetition Financing and (B) Utilize Cash Collateral of the RBL Secured
Parties, (II) Granting Adequate Protection to the RBL Secured Parties, (III) Modifying the
Automatic Stay, (IV) Scheduling and Final Hearing, and (V) Granting Related Relief [Docket No.
14].

12.     Solicitation Procedures Motion. Debtors’ Emergency Motion for Entry of an Order (I)
Scheduling Combined Disclosure Statement Approval and Plan Confirmation Hearing, (II)
Establishing the Plan and Disclosure Statement Objection Deadline and Related Procedures, (III)
Approving Prepetition Solicitation Procedures, (IV) Approving the Form and Manner of Notice,
(V) Directing that a Meeting of Creditors Note Be Convened and (VI) Granting Related Relief
[Docket No. 17].

Status: This matter is going forward.

A.     Plan. Joint Prepackaged Chapter 11 Plan of Reorganization of Cypress Environmental
Partners, L.P. and its Debtor Affiliates [Docket No. 15].

B.    Disclosure Statement. Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of
Reorganization for Cypress Environmental Partners, L.P. and Its Debtor Affiliates [Docket No.
16].

C.     Revised Solicitation Order. Notice of Filing of Revised Proposed Order (I) Scheduling
Combined Disclosure Statement Approval and Plan Confirmation Hearing, (II) Establishing
the Plan and Disclosure Statement Objection Deadline and Related Procedures, (III)
Approving Prepetition Solicitation Procedures, (IV) Approving the Form and Manner of
Notice, (V) Directing That a Meeting of Creditors Not be Convened, and (VI) Granting
Related Relief [Docket No. 39].


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Dated: May 9, 2022
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                                          Proposed Counsel to the Debtors and Debtors in
                                          Possession


                                     Certificate of Service

        I certify that on May 9, 2022, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                             /s/ James T. Grogan III
                                             James T. Grogan III




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